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                                                                                           FILED
                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS                                    SEP     2022
                                        AUSTIN DIVISION                              CLERI<.   U.PISTRCT COURT
                                                                                     WESTERN61TZAr TXA
                                                                                     BY
                                                                                             bEPU   iJkR
INRE: ROBERT TAULER                                     No: 1:21-CV-00675-RP




  DECLARATION OF MARK POE IN SUPPORT OF MOTION TO INTERVENE TO
  UNSEAL THE ADMISSIONS COMMITFEE'S NEGATIVE RECOMMENDATION
            LETTER RE: APPLICATION OF ROBERT TAULER
         I, Mark Poe, declare as follows:

         1.     I am a   California-licensed attorney and acting as pro se counsel for myself in this

matter. I am over the age of 18, and if called to testify at a hearing, would truthfully testify to the

following facts.

         2.     Attached as Exhibit A hereto is a true and correct copy of the September 30, 2020

letter submitted by Robert Kinney to the Admissions Committee for the Western District of

Texas.

         3.     I am the defendant in a case pending in the Plantation Key Division of the

Sixteenth Circuit Court of Florida captioned Jowers       v.   Poe.   As I have no connection to Florida

other than visiting that state once as a child on vacation and three times for work several years

ago, I have filed a motion to dismiss the complaint based in part on the absence of personal

jurisdiction.

         4.     Kevin J. Cole, who assisted Mr. Tauler in gaining admission to this Court's bar, is

lead defense counsel for Tauler Smith in a case pending in the Southern District of California



                                                    1
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captioned In re: Outlaw Laboratory. In that case, I represent three convenience stores who were

subject to a scheme of mail fraud perpetrated by Tauler Smith.

          5.   A true and correct copy of the First Amended Complaint in the Florida action

Jowers v. Poe is attached hereto as Exhibit B.

          6.   Mr. Jowers' counsel in the Florida case against me is called Zachary Zermay. Mr.

Zermay and Mr. Cole hold themselves out as members in a "team" of lawyers doing business

under a domain called      'w,l<jcl   ercorn. Immediately after I described this connection

between Tauler, Cole, and Zermay in a filing in the Florida action, the website of

                      began giving a 404 error and is no longer viewable. However, a true and

correct screenshot of that website as printed on September 11, 2022 is attached as Exhibit C

hereto.

          7.    The initial complaint in Jowers   v.   Poe was filed on July 8, 2022, and alleged that

Mr. Kinney had copied and pasted from a document I filed in the Outlaw Laboratory litigation.

After 1 filed a motion to dismiss in Florida, Jowers and Zermay filed their First Amended

Complaint on August 20, 2022, now alleging that it was a brief filed in the California action

Tauler Smith LLP v. Valerio that was the document that Mr. Kinney copied from.

          8.    In the Florida action, Mr. Zermay has taken the position that this Court's

observation in its August 2, 2021 order that the Admissions Committee issued a negative

recommendation "based on his failure to provide truthful answers to questions 15 (b) and (c) on

the Application form and a supplemental question submitted by the Committee," was "a purely

gratuitous observation or remark" by this Court that should be disregarded by the judge in

Florida. A true and correct copy of that communication from Mr. Zermay is attached as Exhibit

D hereto.



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       I declare   under penalty of perjury under the laws of the United States that the foregoing is

true and correct. Executed on September 25, 2022, at Honolulu, Hawaii.



                                                       Mark Poe




                                                   3
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               Exhibit                 A
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ROBERT KINNEY ATTORNEY AT LAW
                                                                                                        (
824W.     10th   Street, Suite 202. Austin,   TX 78701   1
                                                             512-636-1395   roberf@kinneypc.com




September 30, 2020
US District Clerk's Office
ATIN: Admissions Clerk
501 W 51h Street, Suite 1100
Austin, TX 78701
Via Email to: AusflnAttorney,,,Admissioris@txwd.uscourfsgov

RE:    Letter of Concern Regarding Application for Admission to the Court's Bar by Robert Tauler

Decir Admissions Clerk:

I am a member in good standing of This Courts bar. This letter is to provide the Court's Admission
Committee (the "Committee") with important information regarding Robert Touter ("Touler"} a
current pro hoc vice attorney before the Court who is trying to the join the Court's bar as a full
member.
In short, Touler should not be admitted. am currently handling a case opposite
                                                   I
                                                                                    Tauler', before
Judge Pitmon, MWK Recruiting. Inc vs. Evon F, Jowers, Civil           Action No,: :18-cv-00444-RP,
                                                                                         1



Tauler's behavior in the few short months he has been on that case has been terrible. But the
Committee does not need to take my word for Taulers poor character. My co-counsel and I
were so shocked by his seeming willingness to disregard every standard of attorney conduct
and every local rule of the Court that we have investigated Tauler by looking at available
public information about him, What we ha'e found is that his behavioral issues in our case are
nothing new. He has been sanctioned nd warned by multiple judges for his behavior,
including as recently as September 22. 2020 after his application for admission to this Court was
 submitted. He is also currently a defendnt in a serious RICO case involving fraudulent
 misrepresentations by his firm on behalf of itself and its client which appears headed for trial. In
 that case, his behavior hoz seemingly bee abhorrent, In sum. I believe the Committee may
 have a good basis to make Touler on excnple of the sort of attorney this Court does not want
 as a member of its bar,

     ehavior Observed by the Undersigned

    Touler entered our case in June as couns I of record and his behavior since then has been
    abhorent. Far example, he has consistentl violated the Court's local rules regarding pretnol
    matters by scheduling depositions unilater fly. He has refused to even discuss a schedule for
    depositions, he hcis refused to answer di covery. and he has blocked our efforts in every
    possible way to handle the discovery in thi case cotloborotivety. On the occasions where we
    have communicated by telephone with outer, he hcs often exhibited behavior that was
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           Case 1:l8cv-0044i-RP                Do'cument                 2892 Filed 08131/21 Page 3 of 6




    shocking including screaming fits of rage followed by what can only be deliberate mis-
    recollections of what was said when writing emails and motions. I do not believe that anything
    short of forcing Tauler to associate local counsel under the Court's Local Rule AT-2 is kely to
    stop him from his bullying tactics, and we will be pursuing that remedy with Judge Pitman,
    Tauler's Behavior in Other Cases
    We hove investigated some of Touter's other cases and have determined that his actions in our
    case ore standard operating procedure for him. For example, in a recent motion seeking
    sanctions following some antics he displayed in deposition. Touter was quoted as having said
    the following things:
                                  [Ti coutise11 And guest what?            Trwhu          a funny   way of wrppng
                                        peopl&       AndrmumnydnpJikethe
                                                                  Yotrmaxkmy
                       14         ]ittlewizuuyspiderwebby theendoftbisyear.
                                   VI& ron.    (175:16-19)
                        15
                                  [To coun.cekl And I mutt bav hint yotn  e1inp, because i know
                                  yo&re really sensive I lznow you have dad4y issues. So, reilly,
                        17        flrtgoin to be your daddy for the nat two years.                            '.12-15.)
                        Is
                                   Q: LefJ.00kuattatE1ubit 117.

                                  A: Oh. yeah. This is where I say you're a fucling idiot, basically.
                        2)        W11, stxlke That flasically, you're so dwnb. (19i:1-24.)
                       21
                                   (To counsthj You are 5oing to er destroyed. (194:15-16.)

                                       counsél) He's 1auhin. He's                     gJin. He's p1ayingvith his
(                                  ha.    He's like a school fri.         ..   *   You liketo siggle when yotfre
                        24         nervous, like    a little school girl, dnyotLMark? (193:24-195:7)
                        25               couuse±)    MItk,   it's   okay ifyoure          r.cuxet It's       okay   if   yotfxe
                                   scared.   YQQ bad a really rotten               yer.    You had the worst year
                                   iinablc.         (195:20-23.)
                             (?oe Dccl. El A (excerpts tf transcthpt).)



    See, Motion for Sanctions, in re Outlaw Lab,, LP Liflg., Case No.: 18-cv-840-GPC-BGS (S.D. Cal.
    August 10, 2020). attached as Exhibit A. This motion is pending as of this date. A Houston-based
    attorney, Sean Reagan, submitted a declaration in connection with that case which describes
    in detail same of Touter's antics. It is attached as xibit B. Among other things. Mr. Reagan
     noted, "Mr. Touter's conduct during his deposition was one of the most shocking displays of
     unprofessional behavior by an attorney that have seen in my 5-year career." id., at ¶4.
                                                                     1                                   1




     Prior Court   Sontios and     Fraud Claims Against Touter

     With regard to prior sanctions, our research indicates that Tauler owes the Committee "yes"
     answers and corresponding explanations to questions 15(b) and 17(b) of the application form.
     Further, since his application was (according to the Admission Clerk's office) filed September
     16 and he was sanctioned September 22, he should have updated that form. The matters we
     have found in public records ore as follows



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     1.                    -
          Question 15(b) "Have you ever been disbarred, suspended from practice,
          reprimanded, censured or otherwise disciplined as an attorney.'                              (
We quickly located four cases in which Tauler has been sanctioned or warned about sanctions
for his antics:
     a. Tauler was sanctioned $2,500 by ci federal judge (Hon. Roger 1. Benitez) under Federal
        Rule of Civil Procedure ii for a "failure to conduct a reasonable and competent inquiry'
        before filing, and associated assertions of "demonstrably false representations and
        arguments." See Exhibit C, Order imposing Sanctions, Certif/ed Nuiraceuticais, Inc. V.
        Avicenna Nuirciceuffcai, LLC. No. 3:1 6-C V-028 0-BEN-BGS. 2018 WL 4385368, j 7 (S.D.
                                                            1



        Cal. Sept. 14, 2018). In a subsequent order awarding fees against Tauler's client. Judge
          Benitez stated

                  "Also notable is [fouler client'sl failure to comply with the Court's
                  September 14.2018 Order in this case. Although the Court ordered (Touter's
                  clients], Mr. 'fouler, and Tauler Smith LLP to pay their sanctions by October
                  31. 2018. arid file ci Notice with the Court that the sanctions were paid within
                  three days of payment, as of the date of this Order, no notice has been
                  filed. To soy the least, [fouler client's] brazen litigation tactics and utter
                  disregard for this Court's ovi order suggest a lack of respect for the rule of
                  law that should be deterred. Therefore, the Court finds (client's] behavior
                  underscores the need for deterrence, a factor weighing in favor of finding
                  its lawsuit to be an 'exceptional case."
                                                                                                       (
          See, Exhibit D. Order Granting Motion for Attorneys' Fees, Certified Nutrace utica/s. Inc.
          v. Avicennc Nutraceuticol, LLC, No. 3:16-C V-02810-BEN-BGS. at *89 (S.D. Cal. Nov. 7,
          2018) (emphasis added). Judge Benitez's Courtroom Deputy, S. Rivera, con be reached
          cit this number: (619) 557-6422.


     b. A California state court judge (Hon. Elaine Lu) recently sanctioned Tauler $1,060, stating
        that 'the numerous procedural defect's in Plaintiff's Motion to Compel Further and
        Request for Sanctions demonstrate that it was not brought with substantiol justification."
        Tauler Smith, LLP v. Veileria et. at, Case Number 19-STLC-1 1426, Los Angeles. CA
        (September 22, 2020).See Exhibit E. Faced with this sanction, Tauler quickly dismissed the
        case prior to the hearing at which the final ruling was to be entered. The sanction still
        occurred. though, and is pending, and should have been disclosed. Judge Lu's
          chambers can be reached at (213) 633-0526.

     c. Another federal judge (Hon. Michael R. Wilner) warned Touter to 'be mindful of Rule 11
        standards" in a different case. JST Distribution, LLC V. CNV.com, Inc., No. 7-CV-6264-
                                                                                            1




        PSG-MRWX. 2018 WL 61 13092, at *5 (CD. Cal, Mar. 7, 2018). Judge Wilner's courtroom
        deputy clerk, Veronica Piper, can be reached at (213) 894-0902.
                                                                                                       /




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         d. The federal judge overseeing yet another case Hon. Andre Birotte) said that he "tends
            ta agree that 'by appearances the RICO claim was added for on 'improper purpose,'"
            Tau!er Smith, LLP v, Valerlo, No. 20-CV-00458 AB (ASX), 2020 WL 1921789, at 5 (CD. CaL
            Mar. 6, 2020). Judge Birotf&s courtroom deputy clerk, Carla Badirian, can be reached
            at (213) 894-2833.

         2. Question 17(b)   - "Have you ever been charged with fraud, formally or otherwise, In
            any civil, criminal, bankruptcy, or administrdtive case or proceeding?"
    In a simple search, we found that Touter has been charged at least twice with fraud in a civil
    action. One of the cases is stilt pending. and Touter's firm is charged with running a 'scheme
    to defraud" in that case. Here are the details:


         a. Tauler's firm, Tauler Smith LLP, is currently a defendant in a RICO Act civil case pending
            before the IJ.S. District Court for the Southern District of California (Hon. Gonzalo P.
            Curie!). The original defendants in the action (Touter's alleged victims) brought
            counterclaims alleging that Touter and his client orchestrated a fraud and racketeering
            enterprise by pursuing frivolous claims, The Court noted in its recent order on Tauler's
            Motion for Summary Judgment, that there was sufficient evidence for a jury to find that
            Touter Smith "knowingly engaged in fraudulent conduct alongside [ifs client] in the
            course of drafting and sending its demand letters." According to the court's order, Touter
(           Smith's "conduct of sending fraudulent demand letters to further [the Enterpris&sj
            scheme, if true, amounts to mail fraud, which in turn forms the basis of the Enterprise's
            pattern of racketeering conduct" See Order on Tauler Smith's Motion for Summary
            Judgment, In re Outlaw Lab.. LP Litig., Case No.: 18-cv-840-GPC-BGS (S.D. Cal.
            September 18. 2020), attached as Exhibit F. Whether Tauler will be held liable for the
            claims remains to be seen, but at a minimum these serious charges should have been
            disclosed to the Committee in full. For a direct inquiry, Judge Curiel's chambei's may be
             reached cit this number: (619) 557-7667.

         b. In another case, Wesco insurance Company v, Tooler Smith LLP, Case No. 2:19-cv-08171
            (CD. Cal. 2019), Tauler's firm was accused of misrepresenting whether there were
             malpractice or other claims pending against them when they applied for professional
             liability insurance. This was, at the least, an informal charge of fraud in a civil proceeding,
             and thus disclosoble to the Committee, but the insurance company simply sought to
             rescind the policy and did not charge Touter with fraud explicitly. After survMng a motion
             to dismiss, that case was settled and dismissed on May 1, 2020. The court's order on
             Touter's Motion to Dismiss dated January 6, 2020. is attached as Exhibit.




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   evident from my experience and what we hove found with minimal inquiry that Tauler's
It is
behavior is consistent abhoirent, and not desired among members of the bar of this Court. I
hope that the Committee finds this information helpful in its delitDerations and will see fit to deny
                                                                                                        (
admission to this attorney. If you have any questions regarding this matter, do not hesitate to
contact me on 512-636-1395.
Sincerely,




Robert Kinney. Attorney                  t Law

Attachments:
Exhibit A            Motion for Sanctions against Tauler for deposition misconduct, In ro
                     Outlaw Lab,, LP Liflg., Case No.: 18-cv-840-GPC-BGS (S.D. Cal,
                     August    10,    2020).

Exhibit    S     - Declaration of     Sean Reagan. a Houston-based attorney, submitted
                     in    connection with the Motion for Sanctions referenced above
                     (Augusf 17, 2020).

Exhibit C        - Order    Imposing Sonctions against Tauler for "failure to conduct a
                     reasonable and competent inquiry' before filing, and associated                    \.,,.



                     assertions   of   "demonstrably     false   representations    and
                     arguments" Certified     Nutraceuticals,    Inc.     v.   Avicenna
                     Nutroceuticol, LLC, No. 3:16-CV-02810-BEN-BGS. 2018 WL 4385368
                     (S.D. CaL Sept. 14, 2018).

 Exhibit     D       Order Granting Motion for Attorney Fees, imposing fees in on
                     "exceptional case," and noting Tauler's "brazen litigation tactics."
                     Certified Nutraceuficals, Inc. V. Avicenna Nutroceutico!, LLC, No,
                     3:16-CV-02810-BEN-BGS (S.D. Cal. Nov. 7. 2018).

 Exhibit     E   * Tentative Ruling of  Los Angeles County Superior Court Judge Elatne
                     Lu, awarding sanctions against Touler because his motion "was not
                     brought with substantial justification." Ta u/er Smith, LLP v, Valerio et.
                     aL, Case Number 19-STLC-11426 (September 22, 2020).

 Exhibit     F   * Order on Tauler Smith's Motion for Summary Judgment allowing RICO
                   claims based on fraud to go to trial, In re Outlaw Lab., LP Litig., Case
                   No.: 18-cv-840-GPC-BGS (S.D. Cal. September 18, 2020).

 Exhibit G       -   Order denying Touter Smith's Motion to Dismiss claims for rescission
                     on a professional liability insurance policy, Wesco Insurance
                     Company v. Touler Smith LLP, Case No. 2:19-cv-08171 (C.D. Cal.
                     January     6,   2020)
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                Exhibit                 B
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              IN THE CIRCUIT COURT OF THE SIXTEENTH JUDICIAL CIRCUIT
                        IN AND FOR MONROE COUNTY, FLORIDA
                                 KEY WEST DIVISION


        EVAN JOWERS,                                       CASE N: 22..CA000462K

                Plaintiff,
        V.


        MARK POE,

                 Defendant.
                                                              I

                               FIRST AMENDED COMPLAINT
              Plaintiff Evan Jowers brings this First Amended Complaint against
         Defendant Mark Poe and alleges as follows:
                                     THE PARTIES

         1. Plaintiff is, and at all times relevant hereto was, a citizen of Florida.
         2. Defendant' is, and at all times relevant hereto was, a citizen of the State
              of California.
                                  JURISDICTION AND VENUE

         3. This Court   has subject matter jurisdiction pursuant to section 26.012(2),
              Florida Statutes. The matter in controversy exceeds the sum or value of
              $30,000.00 exclusive of interest, costs, and attorney's fees.


         1
           Defendant is a California licensed attorney and principal of the law firm Gaw  I


         Poe LLP. Plaintiff has not named Gaw        I
                                                      Poe LLP as a defendant in this case
         because at no time material to this lawsuit was Defendant engaged in conduct that
         a reasonable lawyer, or any lawyer for that matter, would (conspiring with a party
         in a case in which he is not involved, to submit fraudulent information about an
         attorney, to prevent that attorney from representing a client).

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4. This    Court has personal. jurisdiction over Defendant because this suit
     arises out of and relates to Defendant's tortious acts within the State of
     Florida. See   §   48.193(1)(a)(2), Fla. Stat.
5.   In addition to the facts alleged in paragraph 4 of this First Amended
     Complaint, at all material times, Defendant has "engaged in solicitation or
     service activities" within this state by way of his continued and
     uninterrupted representation of TrendSettah USA, Inc. ("TrendSettah")
     which is a citizen of the State of Florida. § 48.193(1)(A)(6), Fla. Stat.
     TrendSettah's nerve center and president were at all material times
     located in Florida. Furthermore, the United States Department of Justice
     made clear that TrendSettah was, at all material times, "authorized to
     transact business in Florida" and was run by a "Akrum Alrahib, 43, of
     Miami, Florida[.}" United States Attorney's Office for the Southern
     District of Florida, California Tobacco Executive Pleads Guilty to
     Conspiracy to Evade Federal Excise Taxes on Dominican Cigars, Sep. 24.
     2021,     jfl2s:/Iwww.jstice .govIusao-sdflIprIca1ifornia-tobacco-executive
                                                                Florida     Man
     Sentenced to 5 Years in Prison for Defrauding California of Over $10
     Million in Tax Revenue, U.S. Attorney's Office Eastern District of
     California, Jun. 23. 2022,


       yen).     Furthermore, Defendant is heavily involved in litigation
     concerning his clients TrendSettah and Mr. Airahib in the Southern
     District of Florida, and in cases involving the application of Florida law.
     See Trendsettah USA, Inc., et al., v. Swisher International, Inc. (Case No.:
     1:20-mc-21049-MGC) (S.D. Fla. 2021) ("Nearly 21 months ago, on March 9,
     2020, Swisher served Airahib with a document subpoena at the Miami



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     Federal Detention Center where he was and remains incarcerated. (ECF
     No. 1-3 at 4.) He refused to produce any responsive documents. (See id. at
     5.) Instead, through his then-civil counsel, Gaw Poe LLP, he asserted a
                                                          I




     bevy of boilerplate and meritless objections. (ECF No. 1-26.) Counsel then
     met-and-conferred with the attorneys at Gaw    Poe regarding those
                                                              I




     objections."); see also Trendsettah USA, Inc., et al., v. Swisher
     International, Inc., (Case No. 8:14-CV-01664-JDS (DFMx)) (C.D. Cal.
     2019) ("Because Florida law governs the parties' agreed fee-shifting
     provision, Trendsettah is further entitled to a 2.0 multiplier of its fees for
     this contingency case (i.e, $11,125,134), even if in retrospect the Court
     determines that Trendsettah's "likelihood of success was approximately
     even at the outset." Standard Guar. Ins. Co.   v.   Quanstrom, 555 So.2d 828,
     834 (Fla. 1990). If the Court more accurately 'determines    that success was
     unlikely at the outset of the case,' then Plaintiffs should receive up to a 2.5
     multiplier (i.e., $13,906.417.50). Id. Indeed, since the date of the Court's
     first ruling on Plaintiffs' entitlement to a multiplier, the Florida Supreme
     Court has endeavored to 'make clear' that in fee-shifting contingency cases
     under Florida law, 'there is not a "rare" and "exceptional" circumstances
     requirement before a contingency fee multiplier can be applied.' Joyce v.
   Federated Nat'l Ins. Co., 228 So. 3d 1122, 1125 (Fla. 2017).").
6. Indeed, in addition to representing TrendSettah, Defendant served as
   counsel for clients in a least two other major cases in the State of Florida:
     In Re Checking Account Overdraft Litigation (Case No.: 1:09-MD-02036-
     JLK) (S.D. Fla.) and New England Carpenters Health Benefits Fund, et al
     v. First Databank, Inc. et al. (Case No.: 8:08-MC-00012) (M.D. Fla.).

7.   Furthermore, for reasons stated in paragraphs 5 6 of this First Amended
     Complaint, Defendant engaged in substantial and not isolated activity



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     within this state by representing TrendSettah and his other clients. See §
     48.193(2), Fla. Stat. Defendant engages in business in Florida because he

     actively advertises to, and services clients like, Akrum Alrahib,
     TrendSettah, and others.
8.   Further, Defendant knowingly sent numerous communications into
     Florida, received money from Florida, advertised his services in Florida,
     represented Floridians, and represented clients before courts located in
     Florida. Accordingly, Defendant plainly and purposefully availed himself
     of the privileges of conducting activities within our State, thus invoking
   the benefits and protections of this jurisdiction.
9. Moreover, at all material times, Defendant knew that Plaintiff was a
   citizen of the State of Florida, knowingly directed his tortious conduct into
     the State of Florida, knew that he was interfering business relationship in
     Florida, and caused Plaintiff damages in the State of Florida by requiring
     him to spend money which was located in Florida. To wit, at all material
     times, Defendant's express aim was to reach into the State of Florida and
      harm Plaintiff by way of his tortious conduct. Accordingly, this Court has
   personal jurisdiction over him.
10. Venue for this action is proper in the Sixteenth Judicial Circuit of
      Florida pursuant to section   47.011,   Florida Statutes, because Defendant is
      not a resident of the State of Florida.
                                        FACTS

11.      Plaintiff was engaged in a complex civil lawsuit involving his former
      employer (the "Litigation"). During the Litigation, Plaintiff retained
      Robert Tauler, Esq. ("Attorney") who is a founding partner of the
      nationally recognized law firm Tauler Smith LLP. Attorney specializes in
      high-stakes commercial litigation and represents both plaintiffs and
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      defendants in a variety of areas, including: false advertising, business
      disputes, and unfair competition.
12.      Plaintiff and Attorney entered a business relationship whereby
      Plaintiff agreed to pay Attorney to represent him in the high stakes and
      complex Litigation.
13.     The underlying Litigation was complex and required a lawyer with
      highly institutionalized knowledge. Without Attorney's services, Plaintiff
      would be significantly harmed because he would not have a lawyer who
   had deep working knowledge about the Litigation.
14. Attorney proceeded pro hac vice under the license of an attorney at the
   multinational law firm DLA Piper who was licensed in the court that the
      Litigation occurred.
15.      DLA Piper and the lawyer   that sponsored Attorney's pro hac vice
      admission withdrew from the Litigationwhich necessitated Attorney to
      get the rubber stamp approval of an admissions committee to become a
      member of the court's bar.
16.      Defendant knew about the business relationship described in
      paragraph 12 because he read articles published about the Litigation, and
      because Defendant follows Attorney's public court filings out of a
      venomous spite he holds against Attorney.
17.      Seizing this opportunity to harm Plaintiff and Attorney, commencing
      on or about August 14, 2020, Defendant commenced his smear campaign
      to derail Attorney's representation of Plaintiff and the business
      relationship described in paragraph 12.
18.      To wit, Defendant collaborated with Plaintiffs former employer, Robert
      Kinney ("Kinney"), to feed the admissions committee false information,
      misleading statements, and scandalous lies about Attorney to prevent him


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      from being admitted to the court's bar thereby leaving Plaintiff twisting in
      the wind without adequate representation in the highly contentious and
      complex Litigation.
19.      Kinney was committed to preventing Attorney from becoming a
      member of the court's bar because it would give him a competitive
      advantage in the Litigationand Defendant intentionally acted without
      regard to how his actions would impact Plaintiff because he was obsessed
      with hurting Attorney.
20.      Defendant's smear campaign continued through at least February 16,
      2021.
21.      On February 16, 2021, as a direct and proximate result of the illicit
      collaboration described supra, the admissions committee recommended
      that the court reject Attorney's application to be a member of the bar of
      the court.
22.      As a result of the smear campaign described supra, Plaintiff was forced
      to retain the services of another lawyer to secure Attorney's admission to
      the court's bar.
23.      To wit, Plaintiff spent a significant amount of money to appeal the
   admissions committee's recommendation to the chief judge of the court.
24. After obtaining the admissions committee's file, it was uncovered that
      on September 30, 2020, Kinney submitted false information, misleading
      statements, and scandalous lies about Attorney at the behest of Defendant
      (the "Kinney Letter").
25.     Defendant fed Kinney the false information, misleading statements,
      and scandalous lies that were written in the Kinney Letter.
26.      This illicit collaboration is evidenced by the fact that Kinney copied and
      pasted false information, misleading statements, and scandalous lies from
        Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 17 of 36




      a brief submitted in another proceeding (the "Valerio Brief'). The
      information that Defendant provided to Kinney includedbut is not
      necessarily limited     tothe    information that Kinney copied and pasted
      described below.
27.      Defendant had access to the Valerio Brief because he was counsel for
      the defendant in that proceeding.
28.      Documents in the proceeding that the Valerio Brief was filed in are not
      publicly available because the proceeding was filed in the limited
      jurisdiction2   of the courts of California.
29.      The Valerio Brief was filed by Gaw          I
                                                         Poe LLP on or about August 14,
      2020, to oppose a motion to compel brought by Attorney.
30.      Kinney would not have had a copy of the Valerio Brief but for
      Defendant's interference.
31.      Kinney copied and pasted language from the Valerio Brief into an
      opposition to a motion to compel in the Litigation. He then used that same
      language in the Kinney Letter to smear Attorney before the admissions
      committee.
32.     Screenshots of language that was copied from the Valerio Brief into
      Kinney's opposition to the motion to compel and the Kinney Letter are
      below:




2   Which means that they are not publicly available from online services.

                                              7
Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 18 of 36




                         Simply pit:. Plaintift'.. motion is frivkoi,. But, one should expei nothins less front

              Plaintiff and its couniel Rohart TastIer piven thu they were previuslv sanctioned S2500 by a
         24   federal judge under Federal Rule of Civil Procedure                         11   for a "failure to conduct a reasonable an

         25   competent inquiry"          bcfre      fihiag. and their associated sssertiois of "demonstrably false

         26   representations and agnuwuts" ('err IIivI Ni,nnceuncals Inc                              a'   Avicetrna Nut,aceutwal, LLC'.

              N      3   l6-CV-02S10-DEN-BCtS 2018 WI, 1385385, at *7(8,5) Cal Sept 13,2018) And a
         28   second teckial judge asstiaed them to be nunditil                        of Rule ii standiuds' in a diffetent case JST


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              Distrtbution, LLC n (WV corn, Inc so I 7.CV.6264"PSCr-MRVX 2018 WL 6113092, at

              IC 5) ('al Mat          ' 2018)       Plus, the fedtral judge that ovel sow ibis case pilor to it. remand back
          3   to stare court otcd. wIn',, di',,n,sttup Pl,tinrtft's t'ivvoiuu.. RICO claim againsi Defendants with

              jrejudice. that it ''tends ut                 a. ito: 'by aupesroitces' the RICO claim was added faa a
          0   'improper pmpose.''' (Order (itt tithig S futt.m:a yin08 for Judgment on the Pleadings dated
          6   Match 6. 2020 it 10.)


Valerio Brief at              1        2.



                          It not clear whether Tastier would be eligible for                                  (nih    adunasion to the

               Western Distrn't of Texas Tauler hits been previously sanctioned $2,500 by a

               federal judge under Federal Rule of Civil Procedure 11                                  fr a         'failure to conduct a

               reasonable and competent inquary" before filing and associated assertions of

               "demonstrably false representations and arguments." Ceraified Nuiroceutials, Inc.

               t'.   Auicennan Nutraceiatre&,                    LW No 5.16-CT 02810-BEN-BGS, 2018 WL 4385368,
               at    *7 tS D. Cal Sept 14 20181. Exhibit 5 A second federal judge wartied him to

                  1w namdful of Rule 11 standards" in a different ease.                                ifS? Thatrtbutiort. LLC r
                  CNV earn Inc No 17 CV-6284.PSG4IRWX. 2018 WL 6113092,                                                 at   8 (CD. Cal

               Mar        7       201St   Exhibit 6 The federal judge overseeing another ease, when
                  dismasaing Tastier a firsts s frivolous RICO counterclaim against a former bookkeeper

               with prejudice. read that he tends to agree that 'by appearances' the RICO claim




                  RESPONSE TO JOtiIRS'S SECOND MOTION TO COMPEL                                                                  Page 6




                                  i.n.ei:10-t:             L4t             )CUIT*              tuu'




                  was added for an 'improper purpose" Taitls.r Smith. LLF                                     a'.   Vakrio. No, 20.CV.

                  00458 AB (ASIC). 2020 WI. 1921789. at                          5 (C.D Cal. Mar. 6. 2020).            Exhihitl,

                                                                               ra,
                                                                               'SI
        Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 19 of 36




         Kinney Oppo. to Mot. to Dismiss at 6                               - 7.
34.     Kinney referred that language in the Kinney Letter.
35.     Defendant gave Kinney the Valerio Brief before Kinney submitted the
      Kinney Letter to the admissions committee for the express purpose of
      feeding the admissions committee false and misleading information in
      order to derail Attorney's representation of Plaintiff in the Litigation.
36.      Indeed, it is clear that both Kinney and Defendant were illicitly
      collaborating with respect to the Litigation because they admittedly
      communicated as early as August 26, 2020.
37.     Defendant had Kinney sign a declaration (under oath) dated June 1,
      2021, stating that Kinney reached out to Defendant in August of 2020
      because Kinney liked Defendant's "demeanor" in an online video.
            3          6.    1    wa impressed by MaTL Ioe' deineinor in that video and, ad.er
            4   readiiie oIne ol die [j1nie. I decided to reach out. to            _'vlr.   Poe. which I did h
            5   telephone on /\ugust 26,    2O2       I   thilowed   imp   with an email on the same date. At
            6   some   point on   that day or shortly thereafter, I spoke          Lu   \Ir Poe for the   first time.
            7   Mr. Iue, nc\e-r eomflaeted me:    I   contacted him.



38.      Despite this, at his February 25, 2021, deposition, Kinney testified
      (under oath) that he didn't recall if he reached out to Defendant or if it
      was the other way around:
         Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 20 of 36




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39.     Kinney's attorney then objected on work product grounds. However,
      Kinney admitted that Defendant was not working on the Litigation
      (demonstrating that there is no litigation privilege to protect Defendant's
      tortious conduct).

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40.      When asked if Defendant provided Kinney with any information about
      Attorney, his lawyer instructed him not to answer.




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        Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 21 of 36




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           3        Mr.   L.tL1   ,
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41.      On top of all of this, Kinney lied under oath when he denied that he
      submitted anything to the admissions committee during a sworn
      deposition. To wit, he answered:

                1                                  I       ..
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                                                                     .......        WI,.


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42.      Clearly, Defendant and Kinney did not think that they would get
      caught. For reasons stated supra, Defendant and Kinney illicitly
      collaborated to derail Attorney's representation of Plaintiff and the
      business relationship described in paragraph 12. What Defendant did was
      outrageous, bizarre, and wrong because it needlessly hurt Plaintiff and his
      relationship with his attorney.
43.      After spending a significant amount of money on another lawyer to get
      Attorney admitted to the court's bar, on November                                                1,   2021, Attorney was
      admitted.
44.       But for Defendant's false light, misleading statements, and defamatory
      lies, Attorney would not have been denied a recommendation that he be
      admitted to the bar of the court that the Litigation was occurring in, and

                                                                        11
            Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 22 of 36




      Plaintiff would not have had to expend significant monetary resources to
      get Attorneywho was already representing Plaintiff pro hac viceto
      become a full member of the bar of the court that the Litigation occurred
      in.
                                   COUNT I
                            TORTIOUS INTERFERENCE

45.         Plaintiff incorporates by reference every allegation contained in the
      preceding paragraphs of this Complaint as if fully set forth herein.
46.         Under Florida law, to state a claim for tortious interference with
      contract the claimant must plead four elements: (1) the existence of a
      business relationship under which plaintiff has legal rights, not
      necessarily evidenced by an enforceable contract; (2) proof of defendant's
      knowledge; (3) intentional and unjustified interference with relationship
      by defendant; and (4) damage to plaintiff as a result of interference.
47.         As to the first prong, Plaintiff had legal rights as a result of his
      business relationship with Attorney.
48.         As to the second prong, Defendant knew about the legal relationship
      between Plaintiff and Attorney due to media exposure to the Litigation
      and because Defendant follows Attorney's public court filings out of a
      venomous spite he holds against Attorney.
49.         As to the third prong, Defendant intentionally and unjustifiably
      interfered with the business relationship via his smear campaign and
      illicit collaboration described supra.
50.         As to the fourth prong, as a direct and proximate result of Defendant's
      smear campaign and illicit collaboration described supra, the admissions
      committee recommended that the court reject Attorney's application to be
      a member of the bar of the court, and Plaintiff had to spend a significant


                                           12
         Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 23 of 36




      sum of money on another lawyer to get Attorney admitted to the court's
      bar so Plaintiff and Attorney could proceed with their business
      relationship.

                                    COUNT II
                                ABUSE OF PROCESS

51.    Plaintiff incorporates by reference every allegation contained in the
    preceding paragraphs of this Complaint as if fully set forth herein.
52.    To state a claim for abuse of process under Florida law, a claimant
      must allege: (1) willful and intentional misuse of process for some
      wrongful or unlawful object, or collateral purpose, and (2) that the act or
    acts constituting the misuse occurred after the process issued.
53.    As to the first prong, Defendant willfully and intentionally misused the
      Litigation and Attorney's application to the admissions committee to
      become a member of the court's bar to harm Plaintiff financially and to
      derail Attorney's representation of Plaintiff.
54.      As to the second prong, these actions took place after Plaintiff was a
      defendant in the Litigation and after Attorney applied to be a member of
      the court's bar with its admissions committee.
55.       As a direct and proximate result of Defendant's smear campaign and
      illicit   collaboration   described   supra,     the   admissions   committee
      recommended that the court reject Attorney's application to be a member
      of the bar of the court, and Plaintiff had to spend a significant sum of
      money on another lawyer to get Attorney admitted to the court's bar so
      Plaintiff and Attorney could proceed with their business relationship.




                                            13
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                          PRAYER FOR RELIEF

     WTHEREFORE, Plaintiff prays for the following relief:
           a.    That the Court award Plaintiff a judgment against
                 Defendant in such sums as shall be determined to fully and
                 fairly   compensate Plaintiff for all general,       special,
                  incidental and consequential damages incurred, or to be
                  incurred, by Plaintiff as the direct and proximate result of
                  Defendants' acts and omissions. These include, but are not
                  limited to, physical pain and suffering, both past and
                  future; medical and medical related expenses, both past
                  and future; travel and travel-related expenses, both past
                  and future; emotional distress and future emotional
                  distress; pharmaceutical expenses, both past and future;
                  wage loss; and other ordinary, incidental and consequential
                  damages as would be anticipated to arise under the
                  circumstances;
           b.     Injunctive relief; and
            c.    Such further and other relief as the Court deems necessary.
                              JURY DEMAND
      Plaintiff hereby demands a trial by jury.

                 DOCUMENT PRESERVATION DEMAND

     Plaintiff demands that Defendant take affirmative steps to preserve all
records, lists, electronic databases or other itemizations associated with the
communications or transmittal of communications alleged herein.




                                       14
     Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 25 of 36




DATED: August 19, 2022             Respectfully Submitted,

                                   ZERMAY LAW, P.A.
                                                    t



                                  Zachary Z Zermay, Esq.
                                  Florida Bar NQ: 1002905
                                  203 Labelle Avenue
                                  Fort Myers, Florida 33905
                                  Email: zach@zermaylaw. corn
                                  Telephone: 239-699-3107
                                  Attorney for Plaintiff


                      CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on August 19, 2022, I electronically filed
the foregoing document with the Clerk of the Court using Florida Court's E-
Filing Portal and all counsel of record have been served via transmission of
Notice of Electronic Filing generated by Florida Court E-Filing Portal or in
some other authorized manner.


                                   ZacharyZ. Zerniay,Esq.




                                    15
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                Exhibit                 C
Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 27 of 36




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                   CAALA                                         J




                             lawyer team




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       Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 28 of 36




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         Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 29 of 36




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Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 30 of 36




                Exhibit                D
               Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 31 of 36




Mark Poe

From:               zach@zermaylaw.com
Sent:               Tuesday, September 20, 2022 8:04 AM
To:                  Mark Poe
Subject:            RE: Jowers v. Poe; CMC/Motion Hearing date




Good afternoon Mark,

I believe you were citing a scheduling order in that case. As you know, "a purely gratuitous observation or remark made
in pronouncing an opinion and which concerns some rule, principle, or application of law not necessarily involved in the
case or essential to its determination is obiter dictum, pure and simple." Doherty v. Brown, 14 So. 3d 1266, 1267-68 (Fla.
1st DCA 2009). Clearly, Judge Pitman's Order of August 2, 2021 scheduling a "Video Conference on September 3, 2021"
did not concern a rule, principle, or application of law involved in the case or essential to its determinationand
thereforetherefore there is no finding that you can rely on. Let alone a conclusive one.

Further, this case also concerns "information that Defendant provided to Kinney [which] includedbut [was] not
necessarily limited tothe information in the Valerio Brief and the Valerio Order." This case is not limited to the Valerio
Brief and Order.

Please confirm whether you will provide the requested dates/times or not so I can prepare a deposition notice or
motion to compel. Thanks.



Sincerely,
Zachary Z. Zermay, Esq.
Zermay Law
Telephone: Fla. (239) 699-3107: Cal. (310) 752-9728
Facsimile: (844) 894-6204
e-Mail: zach@zermaylaw.com




From: Mark Poe <mpoe@gawpoe.com>
Sent: Tuesday, September 20, 2022 1:35 PM
To: zach@zermaylaw.com
Subject: RE: Jowers v. Poe; CMC/Motion Hearing date

    Hi Zach,


Thanks for not being shy and starting to email. I disagree with your analysis. As set forth in my motion, there are two
reasons why your complaint is a sham: (1) your central allegation is contradicted by an order of the federal judge who
oversaw Tauler's admissions process, and (2) the portion of the Valerio brief that Mr. Kinney excerpted in his letter did
nothing beyond cite instances in which Tauler had been sanctioned/admonished, and court orders can't be "scandalous
lies."
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Do you see what I mean? Since there's no question that I could answer in a deposition that would be relevant to either
of the two reasons why your complaint is a sham, it just wouldn't be relevant to deciding that issue. Maybe you and Rob
can put your heads together, and figure out what steps to take next?


Thanks,
Mark

Mark Poe
Gaw    I
           Poe LLP
            woecom
Embarcadero 4, Suite 1400
San Francisco, CA 94111
(415) 766-7451




From:            zernayjaw.com   <rrnlacoa!>
Sent: Tuesday, September 20, 2022 7:18 AM
To: 'Mark Poe'
Subject: RE: Jowers v. Poe; CMC/Motion Hearing date

Good afternoon Mark,

We need to get this deposition penciled in before the hearing (and after have had the chance to review your
                                                                              I



discovery responses).

As you know, by filing the motion  to strike the FAC as a sham, you intend to prove to the Court that it is "mere
pretense set up in bad faith and without color of fact," and thus "plain fiction." Reyes ex rel. Barcenas v.
Roush, 99 So. 3d 586, 590 (Fla. 2d DCA 2012). A "full evidentiary hearing is required [before ruling on a motion
to strike a sham pleading] so as to give both sides an opportunity to offer evidence on the issue of whether
the complaint alleged a false cause of action." Id. at 91 citing Miller v. Nelms, 966 So.2d 437, 440 (Fla. 2d DCA
2007). Indeed, as Judge Altenbernd observed, "Rule 1.150 contemplates that the trial judge will conduct an
unusual evidentiary hearing.. to determine whether factually the pleading is a sham." Id. at 592; citing
                                    .


Meadows v. Edwards, 82 So.2d 733 (FIa. 1955).

My client is entitled to hear your side of the story before your case-in-chief. Please let me know some
dates/times that you are available so we can coordinate our calendars. Thanks.

Sincerely,
Zachary Z. Zermay, Esq.
Zermay Law
Telephone: Fla. (239) 699-3107: Cal. (310) 752-9728
Facsimile: (844) 894-6204
e-Mail: zach@zermaylaw.com




From:  Mark Poe      <ge.com>
Sent: Tuesday, September    20,   2022 12:55   PM
                                                           2
                Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 33 of 36


To: zach@zermaylaw.com
Subject: RE: Jowers v. Poe; CMC/Motion Hearing date

Sure; I'll circle back to this after the hearing on my motions, thank


From: zach@zermaylaw.com
Sent: Tuesday, September 20, 2022 6:30 AM
To: 'Mark Poe' <mpoe@gawpoe.com>
Subject: RE: Jowers v. Poe; CMC/Motion Hearing date

Good morning Mark,

Can you give me some    dates/times that you are free to sit for a deposition? Thanks.

Sincerely,
Zachary Z. Zermay, Esq.
Zermay Law
Telephone: Fla. (239) 699-3107: Cal. (310) 752-9728
Facsimile: (844) 894-6204
e-Mail: zach@zermaylaw.com




From: Wendy Dube
Sent: Tuesday, September 20, 2022 10:43 AM
To: Mark Poe
Subject: RE: Jowers v. Poe; CMC/Motion Hearing date

Good morning:

Judge Garcia will be hearing this matter via Zoom. I may offer you October 7, 2022, via Zoom or it may be heard at the
same time as the CMC on October 31, 2022, at 1:45 p.m. via Zoom. Please let me know.

 egardc,

Wendy DuSe
Ju1icia()4ssistant to
Ju4je Luis M. çarcia
Sicteentfi Jufwiaf Circuit
88770 Overseas JIghway
cP(antation?(ey, FL 33070
3058527165


From: Mark Poe
Sent: Saturday, September 17, 2022 3:28 AM
To: zach@zermaylaw.com; Wendy Dube
Subject: RE: Jowers v. Poe; CMC/Motion Hearing date

Hi Ms. Dube,



                                                               3
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Ihesitated to respond for a moment, out of an expectation that you probably don't like to be involved in party
bickering. But in order for you and Judge Garcia to have a full perspective, it seems like a response is appropriate.

As you know, this case had   initially been assigned to Judge Koenig in Key West. After I filed my MID and requested a
hearing date, Judge  Koenig  approved the hearing by Zoom. Mr. Zermay then filed the attached lengthy screed as to why
I should be forced to spend $2K of my money and three days of my time to personally attend a hearing in Key West

(nearly the farthest possible place for me to travel while still being within the United States). As you will see in the
attached email, in response to Mr. Zermay's harangue, Judge Koenig essentially said "nope, but if Mr. Zermay wants to
attend in person, he's free to do so."

Having been already decided by Judge Koenig, I would think that the same result should obtain in Judge Garcia's
courtroom. But if Judge Garcia would prefer to receive formal briefing as to Mr. Zermay's "insistence" that I travel from
Hawaii to Florida to attend a hearing on a pleadings motion, I would be happy to submit my position.

Regards,
Mark


From:              eralacoi
Sent: Friday, September 16, 2022 6:22 AM
To: 'Mark Poe'       eawoecom>; 'Wendy Dube'           <bekescMEtnet>
Subject: RE: Jowers v. Poe; CMC/Motion Hearing date


Good afternoon,

Because these are evidentiary motions, I need to again insist on the hearings being held in person. As to the motion to
strike the pleadings as a sham, Mr. Poe has in effect requested a mini-trial on the merits, so it goes way beyond his
connections to Florida.

And discovery is still outstanding regarding issues in despite, so adjudication of those issues is premature at this
juncture. It would be unfortunate to take the Court's time just to continue the hearing because of discovery issues.

Sincerely,
Zachary Z. Zermay, [sq.
Zermay Law
Telephone: Fla. (239) 699-3107: Cal. (310) 752-9728
Facsimile: (844) 894-6204
e-Mail: zach@zermaylaw.com




From: Mark Poe
Sent: Friday, September 16, 2022 11:00 AM
To: Wendy Dube
Cc:               e!fllaQm
Subject: Re: Jowers v. Poe; CMC/Motion Hearing date

    Hi all,


Honestly can't imagine they would take 30 minutes combined given the overlap between the them. Strictly speaking,
              I


they are "evidentiary motions," but don't expect to have any evidence beyond offering a couple of exhibits attached to
                                     I




                                                             4
                   Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 35 of 36


my declarations on file, and my own testimony regarding my lack of connection to Florida. don't have a good sense as
                                                                                                 I


to what evidence Mr. Zermay might offer in opposition though.

Re:   your second question, I'm just     a   lawyer, not in the military I'm afraid.

Regards,
Mark


          On Sep 16, 2022, at 2:27 AM, Wendy Dube <                  .dubekescourtsnet> wrote:


          Mr. Poe:

          Refresh my recollection, how much time do you need for your motions to be heard?

           cTtegard,


           Weniyu5e
          Ju&ciaf4ssistant to
          Juége Luis M. çarcia
          Si4eentlI Judicial Circ tilt
           88770 Overseas JIighway
          cPlantatioii 7(ey, FL 33070
          3058527165


          From: Mark Poe <mpoegawpoe.com>
          Sent: Thursday, September 15, 2022 5:52 PM
          To: Wendy Dube
          Cc:   zachzermaylaw.com
          Subject: Jowers v. Poe; CMC/Motion Hearing date

           Hi again Ms.   Dube,

           I saw the order setting a CMC for 10/31 and accepted the Zoom invite, but wanted to circle back on one
           issue: I see in Section S.c of Judge Garcia's "Agreed Civil Case Management/Scheduling Order" that
          motions challenging the pleadings must be heard within 60 days of filing, and that "[a]ny party unable to
          secure hearing time to comply herewith is directed to call the Court's Judicial Assistant immediately so
          that hearing time can be made available."

          The Motion to Strike/Dismiss was filed on August 29, so by my calculation, under Judge Garcia's timing
          requirement, this needs to be heard by October 28. There is likewise a pending motion for Section
          57.105 sanctions, filed on September 10, that I would think could be heard simultaneously since it
          embraces the same issues. Of course I wouldn't mind attending the CMC on the 31st if an exception is
          made to the 60-day rule (and we can get a later hearing date on those motions), but I'm confident that
          the hearing on those motions would obviate the need for a CMC in the first place.

           It would be great if you can provide any guidance on this issue. I am available for a motion hearing on
           any day that suits the Court (although given the time-zone issue, Judge Garcia's afternoon calendar
           would be preferable to the morning calendar).
            Case 1:21-cv-00675-RP Document 23 Filed 09/30/22 Page 36 of 36


Regards,
Mark

Mark Poe
Gaw    I
           Poe LLP
            woecom
Embarcadero 4, Suite 1400
San Francisco, CA 94111
(415) 766-7451




                                          6
